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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

     AURORA MOLINA
                                                        COMPLAINT AND
                             Plaintiff,                 JURY DEMAND

     v.
                                                         No. __________________
     ETHICON, INC. and JOHNSON &
     JOHNSON,

                             Defendants.


                                  CIVIL ACTION COMPLAINT

           Plaintiff, AURORA MOLINA (“Plaintiff”), by and through her counsel, brings this

 Complaint to set forth against Defendants’ ETHICON, INC., and JOHNSON & JOHNSON

 (collectively, “Defendants’”, as the context may require) for injuries suffered as a result of the

 implantation of defective pelvic mesh products designed, manufactured and marketed by

 Defendants’. In support, Plaintiff states and avers as follows:

                                              PARTIES

          1.     Plaintiff Aurora Molina, is, and was, at all relevant times, a citizen and resident of

the state of New Mexico, county of Eddy.

          2.     Defendant Johnson & Johnson is a New Jersey corporation with its principal place

of business in New Brunswick, New Jersey.

          3.     Defendant, Ethicon, Inc. is a wholly owned subsidiary of Defendant Johnson &

Johnson and is incorporated in the state of New Jersey with its principal place of business in

Somerville, New Jersey.

          4.     Defendants ETHICON, INC. and JOHNSON & JOHNSON share many of the

same officers, directors and operations; and maintain ownership in the assets and/or liabilities
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relating to the design, manufacture, marketing, distribution and sale of the medical device line at

issue in this litigation and shall be referenced collectively hereinafter as “Defendants”.

         5.      All acts and omissions of each Defendant as described herein were done by its

 agents, servants, employees and/or owners, acting in the course and scope of their respective

 agencies, services, employments and/or ownership.

                                   JURISDICTION AND VENUE

        6.       Damages sought in this matter are in excess of $75,000.00. Subject matter

jurisdiction is proper pursuant to 28 U.S.C. § 1332.

        7.       This Court has subject matter jurisdiction over the parties pursuant to 28 U.S.C. §

1332(a) because the parties are citizens of different states and the amount in controversy exceeds

        $75,000.00, exclusive of interest and costs.

        8.         Venue on remand is proper in the District Court of New Mexico pursuant to 28

U.S.C. § 1391 because a substantial part of the events giving rise to this claim occurred in this district.

        9.       Defendants conducted substantial business in the State of New Mexico and in this

District, distribute Pelvic Mesh Products in this District, receive substantial compensation and

        profits from sales of Pelvic Mesh Products in this District, and made material omissions and

misrepresentations and breaches of warranties in this District so as to subject them to in personam

jurisdiction in this District.

        10.      Defendants conducted business in the State of New Mexico through sales

representatives conducting business in the State of New Mexico and because Defendants were engaged

in testing, developing, manufacturing, labeling, marketing, distributing, promotion and/or selling,

either directly or indirectly, and/or through third parties or related entities, Pelvic Mesh Products;

thus, there exists a sufficient nexus between Defendant forum contacts and the Plaintiff’s claims to

justify assertion of jurisdiction in New Mexico.
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        11.      Consistent with the Due Process Clause of the Fifth and Fourteenth Amendments,

this Court has in personam jurisdiction over Defendants, because Defendants are present in the State

of New Mexico such that requiring an appearance does not offend traditional notices of fair play and

substantial justice.

                          II.   DEFENDANTS’ PELVIC MESH PRODUCTS

        12.      In or about October, 2002, the Defendants began to market and sell a product known

as Gynemesh, for the treatment of medical conditions in the female pelvis, primarily pelvic organ

prolapse and stress urinary incontinence. All references to Gynemesh include all variations of or

names used for Gynemesh, including but not limited to Gynemesh PS.

        13.      Gynemesh was derived from a product known as Prolene Mesh, which was used in

the treatment of medical conditions in the female pelvis, primarily pelvic organ prolapse and stress

urinary incontinence. Prolene Mesh was derived from Defendants’ prolene mesh hernia product, and

was and is utilized in the treatment of medical conditions in the female pelvis, primarily pelvic organ

prolapse and stress urinary incontinence. All references to Prolene Mesh include all variations of Prolene

Mesh, including but not limited to Prolene Soft Mesh.

        14.      In or about September, 2005, the Defendants began to market and sell a product

known as Prolift, for the treatment of medical conditions in the female pelvis, primarily pelvic organ

prolapse and stress urinary incontinence. The Prolift was and is offered as an anterior, posterior, or

total repair system, and all references to the Prolift include by reference all variations.

        15.      In or about May, 2008, the Defendants began to market and sell a product known as

Prolift+M, for the treatment of medical conditions in the female pelvis, primarily pelvic organ

prolapse and stress urinary incontinence. The Prolift+M was and is offered as an anterior, posterior,

or total repair system, and all references to the Prolift+M include by reference all variations.
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        16.       The Defendants market and sell a product known as TVT, for the treatment of stress

urinary incontinence in females. The TVT has been and is offered in multiple variations including,

but not limited to, the TVT, TVT-O, and TVT-S, and all references to the TVT include by reference

all variations.

        17.       The products known as Prolene Mesh, Gynemesh, Prolift, Prolift+M, and TVT, as

well as any as yet unidentified pelvic mesh products designed and sold for similar purposes, inclusive

of the instruments and procedures for implantation, are collectively referenced herein as Defendants’

Pelvic Mesh Products or the Pelvic Mesh Products.

        18.       Defendants’ Pelvic Mesh Products were designed, patented, manufactured, labeled,

marketed, and sold and distributed by the Defendants, at all times relevant herein.

                                    FACTUAL BACKGROUND

        19.       On April 1, 2008, Plaintiff was implanted with an Ethicon/Johnson& Johnson

Gynecare Prolift mesh device and Gynecare TVT-O sling (“Pelvic Mesh Products”, “Pelvic Mesh

Product”, and/or “Product”) during surgery performed at Carlsbad Medical Center in Carlsbad, New

Mexico.

        20.       The Pelvic Mesh Products were implanted in Plaintiff to treat both her pelvic organ

prolapse and her urinary incontinence, the use for which the Pelvic Mesh Products were designed,

marketed and sold.

        21.       On August 15, 2017, Plaintiff underwent revision surgery of the Ethicon/Johnson &

Johnson Gynecare Prolift product at University of New Mexico Hospital in Albuquerque, New

Mexico. The revision surgery was necessary because her prolapse had reoccurred and the Gynecare

Prolift product implanted in Plaintiff had eroded and the mesh had become exposed causing Plaintiff

to suffer from pain with daily activities and dyspareunia.
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       22.     As a result of having the Product implanted in her, Plaintiff has experienced

significant mental and physical pain and suffering, has sustained permanent injury and permanent

and substantial physical deformity and has suffered financial or economic loss, including, but not

limited to, obligations for medical services and expenses.

       23.     Additionally, because both Pelvic Mesh Products were not fully removed from

Plaintiff’s body, she has suffered and is likely to continue to suffer from related complications,

which will require future medical intervention.

       24.     Defendants’ Pelvic Mesh Product has been and continues to be marketed to the

medical community and to patients as a safe, effective, reliable, medical device; implanted by safe

and effective, minimally invasive surgical techniques for the treatment of medical conditions,

primarily pelvic organ prolapse and stress urinary incontinence, and as safer and more effective as

compared to the traditional products and procedures for treatment, and other competing pelvic

mesh products.

       25.     The Defendants have marketed and sold the Defendants’ Pelvic Mesh Product to

the medical community at large and patients through carefully planned, multifaceted marketing

campaigns and strategies. These campaigns and strategies include, but are not limited to direct to

consumer advertising, aggressive marketing to health care providers at medical conferences,

hospitals, private offices, and include the provision of valuable consideration and benefits to health

care providers. Also utilized are documents, brochures, websites, and telephone information lines,

offering exaggerated and misleading expectations as to the safety and utility of the Defendants’

Pelvic Mesh Product.

       26.     Contrary to the Defendants’ representations and marketing to the medical

community and to the patients themselves, the Defendants’ Pelvic Mesh Product has high failure,

injury, and complication rates, fails to perform as intended, requires frequent and often debilitating
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re-operations, and has caused severe and irreversible injuries, conditions, and damage to a

significant number of women, including the Plaintiff.

         27.   The Defendants have consistently underreported and withheld information about

the propensity of Defendants’ Pelvic Mesh Product to fail and cause injury and complications, and

have misrepresented the efficacy and safety of the Product, through various means and media,

actively and intentionally misleading the FDA, the medical community, patients, and the public at

large.

         28.   Defendants have known and continue to know that their disclosures to the FDA

were and are incomplete and misleading; and that the Defendants’ Pelvic Mesh Product was and

is causing numerous patients severe injuries and complications. The Defendants suppressed this

information, and failed to accurately and completely disseminate or share this and other critical

information with the FDA, health care providers, or the patients. As a result, the Defendants

actively and intentionally misled and continue to mislead the public, including the medical

community, health care providers and patients, into believing that the Defendants’ Pelvic Mesh

Product was and is safe and effective, leading to the prescription for and implantation of the Pelvic

Mesh Product into the Plaintiff.

         29.   Defendants failed to perform or rely on proper and adequate testing and research in

order to determine and evaluate the risks and benefits of the Defendants’ Pelvic Mesh Product.

         30.   Defendants failed to design and establish a safe, effective procedure for removal of

the Defendants’ Pelvic Mesh Product; therefore, in the event of a failure, injury, or complications

it is impossible to easily and safely remove the Defendants’ Pelvic Mesh Product.

         31.   Feasible and suitable alternative designs as well as suitable alternative procedures

and instruments for implantation and treatment of stress urinary incontinence, pelvic organ

prolapse, and similar other conditions have existed at all times relevant as compared to the
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Defendants’ Pelvic Mesh Product.

        32.     The Defendants’ Pelvic Mesh Product was at all times utilized and implanted in a

manner foreseeable to the Defendants.

        33.     The Defendants have at all times provided incomplete, insufficient, and misleading

training and information to physicians, in order to increase the number of physicians utilizing the

Defendants’ Pelvic Mesh Product, and thus increase the sales of the Product, and also leading to

the dissemination of inadequate and misleading information to patients, including Plaintiff.

        34.     The Pelvic Mesh Product implanted into the Plaintiff was in the same or

substantially similar condition as it was when it left the possession of Defendants, and in the

condition directed by and expected by the Defendants.

        35.     The injuries, conditions, and complications suffered due to Defendants’ Pelvic

Mesh Product include but are not limited to mesh erosion, mesh contraction, infection, fistula,

inflammation, scar tissue, organ perforation, dyspareunia, blood loss, neuropathic and other acute

and chronic nerve damage and pain, pudendal nerve damage, pelvic floor damage, pelvic pain,

urinary and fecal incontinence, prolapse of organs, and in many cases the women have been forced

to undergo intensive medical treatment, including but not limited to operations to locate and

remove mesh, operations to attempt to repair pelvic organs, tissue, and nerve damage, the use of

pain control and other medications, injections into various areas of the pelvis, spine, and the vagina, and

operations to remove portions of the female genitalia, and injuries to Plaintiff’s intimate partners.

        36.     Despite Defendants’ knowledge of these catastrophic injuries, conditions, and

complications caused by their Pelvic Mesh Product, the Defendants have, and continue to

manufacture, market, and sell the Product, while continuing to fail to adequately warn, label,

instruct, and disseminate information with regard to the Defendants’ Pelvic Mesh Product, both

prior to and after the marketing and sale of the Product.
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                                        COUNT I
                          STRICT LIABILITY – FAILURE TO WARN

       37.      Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

       38.      The Defendants failed to properly and adequately warn and instruct the Plaintiff

and her health care providers as to the proper candidates, and the safest and most effective methods

of implantation and use of the Defendants’ Pelvic Mesh Product.

       39.      The Defendants failed to properly and adequately warn and instruct the Plaintiff

and her health care providers as to the risks and benefits of the Defendants’ Pelvic Mesh Products,

given the Plaintiff’s conditions and need for information

       40.      The Defendants failed to properly and adequately warn and instruct the Plaintiff

and her health care providers with regard to the inadequate research and testing of the Pelvic Mesh

Products, and the complete lack of a safe, effective procedure for removal of the Pelvic Mesh

Products.

       41.      In addition, the Products were defective due to the lack of necessary and appropriate

warnings regarding, but not limited to, the following:

             a) the Products' propensities to contract, retract, and/or shrink inside the body;

             b) the Products' propensities for degradation, fragmentation, disintegration and/or
                creep;

             c) That the Defendants’ device was defective, and caused dangerous and adverse side
                effects, including but not limited to higher incidence of erosions, extrusions,
                adverse tissue response and rejection, contraction, migration, trauma, groin pain,
                vaginal pain, failure, and revision surgeries at a much more significant rate than
                other products, treatments and procedures available to treat pelvic organ prolapse;

             d) That patients needed to be monitored more regularly than usual while using the
                Defendants’ device and that in the event the product needed to be attempted to
                revise or be removed that the procedures to remove segments of the product had a
                very high failure rate and/or needed to be performed repeatedly;
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              e) the Products' inelasticity preventing proper mating with the pelvic floor and vaginal
                 region;

              f) the rate and manner of mesh erosion or extrusion;

              g) the risk of chronic inflammation resulting from the Products;

              h) the risk of chronic infections resulting from the Products;

              i)   the risk of permanent vaginal or pelvic scarring as a result of the Products;

              j)   the risk of recurrent, intractable pelvic pain and other pain resulting from the
                   Products;

              k) the need for corrective or revision surgery to adjust or remove the Products;

              l)   the severity of complications that could arise as a result of implantation of the
                   Products

              m) the hazards associated with the Products;

              n) the Products' defects described herein

              o) treatment of pelvic organ prolapse and stress urinary incontinence with the Products
                 is no more effective than feasible available alternatives;

              p) treatment of pelvic organ prolapse and stress urinary incontinence with the Products
                 exposes patients to greater risk than feasible available alternatives;

              q) treatment of pelvic organ prolapse and stress urinary incontinence with the Products
                 makes future surgical repair more difficult than feasible available alternatives;

              r) use of the Products puts the patient at greater risk of requiring additional surgery
                 than feasible available alternatives;

              s) removal of the Products due to complications may involve multiple surgeries and
                 may significantly impair the patient's quality of life; and

              t)   complete removal of the Products may not be possible and may not result in
                   complete resolution of the complications, including pain.

        42.        The Defendants intentionally, recklessly, and maliciously misrepresented the

safety, risks, and benefits of the Defendants’ Pelvic Mesh Product, understating the risks and

exaggerating the benefits in order to advance their own financial interests, with wanton and willful disregard

for the rights and health of the Plaintiff.
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       43.     As a proximate result of the Defendants’ design, manufacture, marketing, sale, and

distribution of the Pelvic Mesh Product, Plaintiff has been injured, often catastrophically, and

sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

loss of care, comfort, and consortium, and economic damages.

       44.     The Defendants are strictly liable in tort to the Plaintiff for their wrongful conduct.

       WHEREFORE, Plaintiffs demand judgment against Defendants of compensatory

damages, punitive damages, interest, attorneys’ fees, costs of suit, and such further relief as the

Court deems equitable and just.

                                       COUNT II
                             STRICT LIABILITY – DESIGN DEFECT

       45.     Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

       46.     At the time of Plaintiff’s injuries, the Defendants’ Pelvic Mesh Products were

defective and unreasonably dangerous to foreseeable consumers, patients, and users, including

Plaintiff, and the warnings labels and instructions were deficient.

       47.     The Gynecare Prolift and TVT-O Products were placed into the stream of

commerce by the Defendants with the expectation that it would reach consumers in New Mexico

without substantial change in condition and, as of April 1, 2008, there had been no substantial

change in the condition of either Product.

       48.     The Gynecare Prolift and TVT-O implanted in AURORA MOLINA were in the

same or substantially similar condition as when they left the Defendants' possession, and in the

condition directed by and expected by the Defendants.

       49.     The Products implanted in the Plaintiff were not reasonably safe for their intended

use and were defective with respect to the manufacture, as described herein, in that Defendants

deviated materially from their design and manufacturing specifications and/or such design and
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manufacture posed an unreasonable risk of harm to patients in whom the Products were implanted.

       50.      The Products are inherently dangerous and defective, unfit and unsafe for their

intended and reasonably foreseeable uses, and do not meet or perform to the expectations of

patients and their health care providers.

       51.      The Products create risks to the health and safety of the patients that are far more

significant and devastating than the risks posed by other products and procedures available to treat

the corresponding medical conditions, and which far outweigh the utility of the Products.

       52.      The Defendants have intentionally and recklessly manufactured, the Products with

wanton and willful disregard for the rights and health of the Plaintiff and others, and with malice,

placing their economic interests above the health and safety of the Plaintiff and others.

       53.      The Product implanted in the Plaintiff was not reasonably safe for its intended use

and was defective as described herein with respect to its design. As previously stated, the Products'

design defects include, but are not limited to:

             a) the use of polypropylene material and/or collagen material in the Products and the
                immune reaction that results from such material, causing adverse reactions and
                injuries;

             b) the design of the Products to be inserted into and through an area of the body with
                high levels of bacteria that adhere to the mesh causing immune reactions and
                subsequent tissue breakdown and adverse reactions and injuries;

             c) biomechanical issues with the design of the Products, including, but not limited to,
                the propensity of the Products to contract or shrink inside the body, that in turn
                cause surrounding tissue to be inflamed, become fibrotic, and contract, resulting in
                injury;

             d) the use and design of arms and anchors in the Products, which, when placed in the
                women, are likely to pass through contaminated spaces and injure major nerve
                routes in the pelvic region;

             e) the propensity of the Products for "creep," or to gradually elongate and deform
                when subject to prolonged tension inside the body;

             f) the inelasticity of the Products, causing them to be improperly mated to the delicate
                and sensitive areas of the pelvis where they are implanted, and causing pain upon
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                  normal daily activities that involve movement in the pelvis (e.g., intercourse,
                  defecation);

             g) the propensity of the Products for degradation or fragmentation over time, which
                causes a chronic inflammatory and fibrotic reaction, and results in continuing injury
                over time;

             h) the propensity of the Products for particle loss or "shedding", which causes a
                chronic inflammatory response and fibrotic reaction, and results in continuing
                injury over time; the lack of porosity of the Products, which leads to fibrotic
                bridging and results in continuing injury over time; and

             i)   the creation of a non-anatomic condition in the pelvis leading to chronic pain and
                  functional disabilities when the mesh is implanting according to the manufacturers'
                  instructions.

       54.        Plaintiff adopts the Plaintiff adopts the Restatement of Torts (Second) and/or the

Restatement of Torts (Third), bringing strict product liability claims under the common law,

Section 402A of the Restatement of Torts (Second), and/or Restatement of Torts (Third)) against

Defendants.

       55.        As a proximate result of the Defendants’ design, manufacture, marketing, sale, and

distribution of the Pelvic Mesh Products, Plaintiff has been injured, often catastrophically, and

sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

loss of care, comfort, and consortium, and economic damages.

       56.        Specifically, the Gynecare Prolift implanted in AURORA MOLINA eroded and

became exposed causing Plaintiff to suffer from severe complications, including but not limited

to: severe pain with daily activates, dyspareunia and economic damages.

       57.        The Defendants failed to exercise ordinary care in the representations concerning

the Products while they were involved in their manufacture, sale, testing, quality assurance, quality

control, and distribution in interstate commerce, because the Defendants negligently

misrepresented the Products' high risk of unreasonable, dangerous, adverse side effects.
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          WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages, punitive

damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

                                          COUNT III
                                         NEGLIGENCE

          58.   Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

          59.   Defendants had a duty to exercise reasonable and ordinary care in the manufacture,

design, labeling, instructions, warnings, sale, marketing, and distribution of the Defendants’ Pelvic

Mesh Product, and recruitment and training of physicians to implant the Pelvic Mesh Product.

          60.   Defendants breached their duty of care to the Plaintiff, as aforesaid, in the

manufacture, design, labeling, warnings, instructions, sale, marketing, distribution, and

recruitment and training of physicians to implant the Pelvic Mesh Product.

          61.   At all times material, Defendants failed to exercise reasonable care under the

circumstances, as it knew, or in the exercise of reasonable care, should have known, that its Pelvic

Mesh Product was not properly manufactured, compounded, assembled, inspected, packaged,

distributed, tested, analyzed, examined, or prepared, such that the medical device was defective,

unreasonably dangerous, and likely to injure its users, including Plaintiff herein.

          62.   Also, Defendants failed to exercise reasonable care under the circumstances, as it

knew, or in the exercise of reasonable care, should have known, that its Pelvic Mesh Products were

sold without sufficient warnings or instruction (both before as well as after their sale), such that

the Gynecare Prolift and TVT-O mesh devices were likely to injure its users, including Plaintiff

herein.
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        63.     As a result of said failures, the Gynecare Prolift and TVT-O brand mesh devices

implanted in Plaintiff were unreasonably dangerous and defective in design and unaccompanied

by adequate warnings concerning its hazardous properties.

        64.     Further, Defendants failed to exercise reasonable care under the circumstances, as

it knew, or in the exercise of reasonable care, should have known, that its Pelvic Mesh Products

and the information (including warnings, instructions, detailing, advertising, promotion, and

representations) about the characteristics and properties of the device; the potential risks associated

with its use in patients; safety and efficacy data; the attributes of the device relative to other

competing medical devices; and the management of patients after implantation of this device were

inaccurate or incomplete, such that the medical device was likely to injure its users, including

Plaintiff herein.

        65.     Defendants also failed to conduct sufficient testing, quality assurance measures

and/or inspection of its Pelvic Mesh Product, both prior to and after clearance of the product for

sale, which, if properly performed, would have revealed or led, long ago, to the detection of defects

in the Pelvic Mesh Product and inadequacy in the warnings, promotional materials and instructions

which accompanied the device, such that the injuries suffered by Plaintiff herein could have been

prevented.

        66.     These negligent acts by Defendants resulted in the sale of Pelvic Mesh Products

that were unreasonably dangerous, unsafe, and not reasonably fit for the uses and purposes for

which the medical device would ordinarily be put or some other reasonably foreseeable purpose

and the unreasonably dangerous condition existed when such device, including the particular

device implanted in Plaintiff, left Defendants’ custody and control.

        67.     Defendants knew or should have known that the Pelvic Mesh Product subjected

Plaintiff to unreasonably dangerous risks of which the Plaintiff and her treating physicians would
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not be aware. Nevertheless, Defendants advertised, marketed, sold and distributed the Pelvic Mesh

Product device for years to thousands of women, at a time when Defendants knew that there were

safer methods and products available for the treatment of pelvic organ prolapse.

       68.     Had Plaintiff, her treating physician, or both known of the unreasonably dangerous

risks associated with the Gynecare Prolift and TVT-O products at the time of her implant surgery,

such knowledge would have affected the treating physician’s use of the device and Plaintiff would

not have consented to the implantation of the device.

       69.     As a proximate result of the Defendants’ design, manufacture, labeling, marketing,

sale, and distribution of the Pelvic Mesh Product, Plaintiff has been injured, often catastrophically,

sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

loss of care, comfort, and consortium, and economic damages.

       WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and request compensatory damages, punitive

damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

                                      COUNT IV
                            NEGLIGENT MISREPRESENTATION

       70.     Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

       71.     Defendants had a duty to accurately and truthfully represent to the medical and

healthcare community, Plaintiff, and the public, that the Pelvic Mesh Product had not been

adequately tested and found to be safe and effective for the treatment of incontinence and prolapse.

The representations made by Defendants, in fact, were false.

       72.     Defendants failed to exercise ordinary care in the representations concerning the

Pelvic Mesh Product while they were involved in their manufacture, sale, testing, quality
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assurance, quality control, and distribution in interstate commerce, because Defendants negligently

misrepresented the Pelvic Mesh Product’s high risk of unreasonable, dangerous, adverse side

effects.

           73.   Defendants breached their duty in representing that the Defendants’ Pelvic Mesh

Product has no serious side effects different from older generations of similar products and/or

procedures to Plaintiff, Plaintiff’s physicians, and the medical and healthcare community.

           74.   As a foreseeable, direct and proximate result of the negligent misrepresentation of

Defendants as set forth herein, Defendants knew, and had reason to know, that the Pelvic Mesh

Product had been insufficiently tested, or had not been tested at all, and that it lacked adequate and

accurate warnings, and that it created a high risk, and/or higher than acceptable risk, and/or higher

than reported and represented risk, of adverse side effects, including, erosion, pain and suffering,

surgery to remove the products, and other severe and personal injuries, which are permanent and

lasting in nature.

           75.   As a proximate result of the Defendants’ conduct, Plaintiff has been injured, often

catastrophically, and sustained severe and permanent pain, suffering, disability, impairment, loss

of enjoyment of life, loss of care, comfort, and consortium, and economic damages.

           WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and request compensatory damages, punitive

damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

                                       COUNT V
                             BREACH OF EXPRESS WARRANTY

           76.   Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.
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        77.      At all relevant and material times, Defendants manufactured, distributed,

advertised, promoted, and sold the Defendants’ Pelvic Mesh Product.

        78.      At all relevant times, Defendants intended that the Defendants’ Pelvic Mesh

Product be used in the manner that Plaintiff in fact used it and Defendants expressly warranted that

the product was safe and fit for use by consumers, that it was of merchantable quality, that its side

effects were minimal and comparable to other pelvic mesh products, and that it was adequately

tested and fit for its intended use.

        79.      At all relevant times, Defendants were aware that consumers, including Plaintiff,

would use the Pelvic Mesh Product; which is to say that Plaintiff was a foreseeable user of the

Defendants’ Pelvic Mesh Product.

        80.      Plaintiff and/or her implanting physicians were at all relevant times in privity with

Defendants.

        81.      The Defendants’ Pelvic Mesh Product was expected to reach and did in fact reach

consumers, including Plaintiff and her implanting physicians, without substantial change in the

condition in which it was manufactured and sold by Defendants.

        82.      Defendants breached various express warranties with respect to the Pelvic Mesh

Product including the following particulars:

              a) Defendants represented to Plaintiff and her physicians and healthcare providers

                 through its labeling, advertising, marketing materials, detail persons, seminar

                 presentations, publications, notice letters, and regulatory submissions that the

                 Defendants’ Pelvic Mesh Product was safe and fraudulently withheld and

                 concealed information about the substantial risks of serious injury associated with

                 using the Pelvic Mesh Product;
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             b) Defendants represented to Plaintiff and her physicians and healthcare providers that

                the Defendants’ Pelvic Mesh Product was as safe, and/or safer than other alternative

                procedures and devices and fraudulently concealed information, which

                demonstrated that the Product was not safer than alternatives available on the

                market; and

             c) Defendants represented to Plaintiff and her physicians and healthcare providers that

                the Defendants’ Pelvic Mesh Product was more efficacious than other alternative

                medications and fraudulently concealed information, regarding the true efficacy of

                the product.

       83.      In reliance upon Defendants’ express warranty, Plaintiff was implanted with the

Defendants’ Pelvic Mesh Product as prescribed and directed, and therefore, in the foreseeable

manner normally intended, recommended, promoted, and marketed by Defendants.

       84.      At the time of making such express warranties, Defendants knew or should have

known that the Defendants’ Pelvic Mesh Product does not conform to these express representations

because the Defendants’ Pelvic Mesh Product was not safe and had numerous serious side effects,

many of which Defendants did not accurately warn about, thus making the Defendants’ Pelvic

Mesh Product unreasonably unsafe for its intended purpose.

       85.      Members of the medical community, including physicians and other healthcare

professionals, as well as Plaintiff and the Public relied upon the representations and warranties of

Defendants in connection with the use recommendation, description, and/or dispensing of the

Defendants’ Pelvic Mesh Product.

       86.      Defendants breached their express warranties to Plaintiff in that the Defendants’

Pelvic Mesh Product was not of merchantable quality, safe and fit for its intended uses, nor was it

adequately tested.
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       87.     As a proximate result of the Defendants’ conduct, Plaintiff has been injured, often

catastrophically, and sustained severe and permanent pain, suffering, disability, impairment, loss

of enjoyment of life, loss of care, comfort, and consortium, and economic damages.

       WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and request compensatory damages, punitive

damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

                                     COUNT VI
                            BREACH OF IMPLIED WARRANTY

       88.     Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

       89.     At all relevant and material times, Defendants manufactured, distributed,

advertised, promoted, and sold the Defendants’ Pelvic Mesh Product.

       90.     At all relevant times, Defendants intended that the Defendants’ Pelvic Mesh

Product be implanted for the purposes and in the manner that Plaintiff or Plaintiff’s implanting

physicians in fact used it and Defendants impliedly warranted the product to be of merchantable

quality, safe and fit for such use, and was not adequately tested.

       91.     Defendants were aware that consumers, including Plaintiff or Plaintiff’s physicians,

would implant the Defendants’ Pelvic Mesh Product in the manner directed by the instructions for

use; which is to say that Plaintiff was a foreseeable user of the Defendants’ Pelvic Mesh Product.

       92.     Plaintiff and/or her physicians were at all relevant times in privity with Defendants.

       93.     The Defendants’ Pelvic Mesh Product was expected to reach and did in fact reach

consumers, including Plaintiff or Plaintiff’s physicians, without substantial change in the condition

in which it was manufactured and sold by Defendants.
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       94.      Defendants breached various implied warranties with respect to the Defendants’

Pelvic Mesh Product, including the following particulars:

             a) Defendants represented through their labeling, advertising, marketing materials,

                detail persons, seminar presentations, publications, notice letters, and regulatory

                submissions that the Defendants’ Pelvic Mesh Product was safe and fraudulently

                withheld and concealed information about the substantial risks of serious injury

                associated with using the Pelvic Mesh Product;

             b) Defendants represented that the Defendants’ Pelvic Mesh Product was safe, and/or

                safer than other alternative devices or procedures and fraudulently concealed

                information, which demonstrated that the Defendants’ Pelvic Mesh Product was

                not as safe or safer than alternatives available on the market; and

             c) Defendants represented that the Defendants’ Pelvic Mesh Product was more

                efficacious than alternative pelvic mesh products and procedures and fraudulently

                concealed information, regarding the true efficacy of the Defendants’ Pelvic Mesh

                Product.

       95.      In reliance upon Defendants’ implied warranty, Plaintiff used the Pelvic Mesh

Product as prescribed and in the foreseeable manner normally intended, recommended, promoted,

and marketed by Defendants.

       96.      Defendants breached their implied warranty to Plaintiff in that the Defendants’

Pelvic Mesh Product was not of merchantable quality, safe and fit for its intended use, or

adequately tested.

       97.      As a proximate result of the Defendants’ conduct, Plaintiff has been injured, often

catastrophically, and sustained severe and permanent pain, suffering, disability, impairment, loss

of enjoyment of life, loss of care, comfort, and consortium, and economic damages.
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       WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and request compensatory damages, punitive

damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court

deems equitable and just.

                                   COUNT VII
                    VIOLATION OF CONSUMER PROTECTION LAWS

       98.     Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

       99.     Plaintiff purchased and used the Defendants’ Pelvic Mesh Product primarily for

personal use and thereby suffered ascertainable losses as a result of Defendants’ actions in

violation of the consumer protection laws.

       100.    Had Defendants not engaged in the deceptive conduct described herein, Plaintiff

would not have purchased and/or paid for the Defendants’ Pelvic Mesh Product, and would not

have incurred related medical costs and injury.

       101.    Defendants engaged in wrongful conduct while at the same time obtaining, under

false pretenses, moneys from Plaintiff for the Pelvic Mesh Product that would not have been paid

had Defendants not engaged in unfair and deceptive conduct.

       102.    Unfair methods of competition or deceptive acts or practices that were proscribed

by law, including the following:

               a)      Representing that goods or services has characteristics, ingredients, uses

               benefits or quantities that they do not have;

               b)      Advertising goods or services with the intent not to sell them as advertised;

               and,
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                c)     Engaging in fraudulent or deceptive conduct that creates a likelihood of

                confusion or misunderstanding.

         103.   Plaintiff was injured by the cumulative and indivisible nature of Defendants’

conduct. The cumulative effect of Defendants’ conduct directed at patients, physicians and

consumers was to create demand for and sell the Defendants’ Pelvic Mesh Product. Each aspect

of Defendants’ conduct combined to artificially create sales of the Defendants’ Pelvic Mesh

Product.

         104.   Defendants have a statutory duty to refrain from unfair or deceptive acts or trade

practices in the design, labeling, development, manufacture, promotion, and sale of the

Defendants’ Pelvic Mesh Product.

         105.   Had Defendants not engaged in the deceptive conduct described above, Plaintiff

would not have purchased and/or paid for the Product, and would not have incurred related medical

costs.

         106.   Defendants’ deceptive, unconscionable, or fraudulent representations and material

omissions to patients, physicians and consumers, including Plaintiff, constituted unfair and

deceptive acts and trade practices in violation of the state consumer protection statutes listed.

         107.   Defendants’ actions, as complained of herein, constitute unfair competition or

unfair, unconscionable, deceptive or fraudulent acts, or trade practices in violation of state

consumer protection statutes, as listed below.

         108.   Defendants have engaged in unfair competition or unfair or deceptive acts or trade

practices or have made false representations.

         109.   Under applicable state statutes enacted to protect consumers against unfair,

deceptive, fraudulent and unconscionable trade and business practices and false advertising,

Defendants are the suppliers, manufacturers, advertisers, and sellers, who are subject to liability
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under such legislation for unfair, deceptive, fraudulent and unconscionable consumer sales

practices.

       110.    Defendants violated the statutes that were enacted in these states to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

and false advertising, by knowingly and falsely representing that the Defendants’ Pelvic Mesh

Product was fit to be used for the purpose for which it was intended, when in fact it was defective

and dangerous, and by other acts alleged herein. These representations were made in marketing

and promotional materials.

       111.    The actions and omissions of Defendants alleged herein are uncured or incurable

deceptive acts under the statutes enacted in the states to protect consumers against unfair,

deceptive, fraudulent and unconscionable trade and business practices and false advertising.

       112.    Defendants had actual knowledge of the defective and dangerous condition of the

Defendants’ Pelvic Mesh Product and failed to take any action to cure such defective and

dangerous conditions.

       113.    Plaintiff and the medical community relied upon Defendants’ misrepresentations

and omissions in determining which product and/or procedure to undergo and/or perform (if any).

       114.    Defendants’ deceptive, unconscionable or fraudulent representations and material

omissions to patients, physicians and consumers, constituted unfair and deceptive acts and

practices.

       115.    By reason of the unlawful acts engaged in by Defendants, and as a direct and

proximate result thereof, Plaintiff has suffered ascertainable losses and damages.

       116.    As a direct and proximate result of Defendants’ violations of the states’ consumer

protection laws, Plaintiff has sustained economic losses and other damages and is entitled to

statutory and compensatory, damages in an amount to be proven at trial.
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        WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and request restitution and disgorgement of

profits, together with interest, cost of suit, attorneys’ fees, and all such other and further relief as

this Court deems just and proper.

                                            COUNT VIII
                                              FRAUD

        117.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

        118.    The Defendants falsely and fraudulently represented and continue to represent to

the medical and healthcare community, the Plaintiff, the FDA, and the public that the Products had

been tested and were found to be safe and effective.

        119.    The representations made by the Defendants were, in fact, false. When the

Defendants made their representations, the Defendants knew and/or had reason to know that those

representations were false, and the Defendants willfully, wantonly, and recklessly disregarded the

inaccuracies in their representations and the dangers and health risks to users of the Products.

        120.    These representations were made by the Defendants with the intent of defrauding

and deceiving the medical community, the Plaintiff, and the public, and also inducing the medical

community, the plaintiff, and the public, to recommend, prescribe, dispense, and purchase the

Products for use as a means of treatment for stress urinary incontinence and/or prolapse, all of

which evinced a callous, reckless, willful, and depraved indifference to the health, safety, and

welfare of the Plaintiff.

      121. In representations to the Plaintiff and/or to Plaintiffs healthcare providers, the
Defendants fraudulently concealed and intentionally omitted the following material information:

            a) That the Products were not as safe as other products and procedures available to
               treat incontinence and/or prolapse;
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           b) That the risk of adverse events with the Products was higher than with other
              products and procedures available to treat incontinence and/or prolapse;

           c) The Products were not adequately tested;

           d) That the limited clinical testing revealed the Products had a higher risk of adverse
              effects, in addition to, and above and beyond those associated with other products
              and procedures available to treat incontinence and/or prolapse;

           e) That the Defendants deliberately failed to follow up on the adverse results from
              clinical studies and formal and informal reports from physicians and other
              healthcare providers and buried and/or misrepresented those findings;

           f) That the Defendants were aware of dangers in the Products in addition to and above
              and beyond those associated with other products and procedures available to treat
              incontinence and/or prolapse;

           g) That the Products were defective, and that they caused dangerous and adverse side
              effects, including but not limited to higher incidence of erosion and failure, at a
              much more significant rate than other products and procedures available to treat
              incontinence and/or prolapse;

           h) That patients needed to be monitored more regularly than usual while using the
              Products and that in the event the products needed to be removed that the
              procedures to remove them had a very high failure rate and/or needed to be
              performed repeatedly;

           i)   That the Products were manufactured negligently;

           j)   That the Products were manufactured defectively; and

           k) That the Products were designed negligently, and designed defectively.

       122.     The Defendants were under a duty to disclose to the Plaintiff and her physicians,

the defective nature of the Products, including, but not limited to, the heightened risks of erosion,

failure, and permanent injury.

       123.     The Defendants had sole access to material facts concerning the defective nature of

the Products and their propensity to cause serious and dangerous side effects and hence, cause

dangerous injuries and damage to persons who used the Products.

       124.     The Defendants' concealment and omissions of material fact concerning the safety

of the Products were made purposefully, willfully, wantonly, and/or recklessly to mislead, to cause
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the Plaintiff's physicians and healthcare providers to purchase, prescribe, and/or dispense the

Products; and/or to mislead the Plaintiff into reliance and cause the Plaintiff to use Products.

       125.    At the time these representations were made by the Defendants, and at the time the

Plaintiff used the Products, the Plaintiff was unaware of the falsehood of these representations, and

reasonably believed them to be true.

       126.    The Defendants knew and had reason to know that the Products could and would

cause severe and grievous personal injury to the users of the Products, and that they were inherently

dangerous in a manner that exceeded any purported, inaccurate, or otherwise downplayed

warnings.

       127.    In reliance upon these false representations, the Plaintiff was induced to, and did

use the Products, thereby sustaining severe and permanent personal injuries and damages.

       128.    The Defendants knew or had reason to know that the Plaintiff and her physicians

and other healthcare providers had no way to determine the truth behind the Defendants'

concealment and omissions, and that these included material omissions of facts surrounding

the use of the Products, as described in detail herein.

       129.    The Plaintiff reasonably relied on revealed facts which foreseeably and

purposefully suppressed and concealed facts that were critical to understanding the real dangers

inherent in the use of the Products.

       130.    Having knowledge based upon the Defendants' research and testing, or lack thereof,

the Defendants blatantly and intentionally distributed false information, including but not limited

to assuring the Plaintiff, the public, and Plaintiffs healthcare providers and physicians, that the

Products were safe for use as a means of providing relief from stress urinary incontinence and/or

prolapse and were as safe or safer than other products and/or procedures available and on the

market. As a result of the Defendants' research and testing, or lack thereof, the Defendants
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intentionally omitted, concealed and suppressed certain results of testing and research to healthcare

professionals, the Plaintiff, and the public at large.

        131.    The Defendants had a duty when disseminating information to the public to

disseminate truthful information; and a parallel duty not to deceive the public, the Plaintiff,

Plaintiffs healthcare providers, or the FDA.

        132.    The information distributed to the public, the medical community, the FDA, and

the Plaintiff, by the Defendants included, but was not limited to websites, information presented

at medical and professional meetings, information disseminated by sales representatives to

physicians and other medical care providers, reports, press releases, advertising campaigns,

television commercials, print advertisements, billboards and other commercial media containing

material representations, which were false and misleading, and contained omissions and

concealment of the truth about the dangers of the use of the Products.

        133.    The Defendants intentionally made material misrepresentations to the medical

community and public, including the Plaintiff, regarding the safety of the Products, specifically

that the Products did not have dangerous and/or serious adverse health safety concerns, and that

the Products were as safe or safer than other means of treating stress urinary incontinence and/or

prolapse.

        134.    The Defendants intentionally failed to inform the public, including the Plaintiff, of

the high failure rate, including erosion, the difficulty or impossibility of removing the mesh, and

the risk of permanent injury. The Defendants chose to over-promote the purported safety, efficacy

and benefits of the Products instead.

        135.    The Defendants' intent and purpose in making these misrepresentations was to

deceive and defraud the public, the medical community, and the Plaintiff; to gain the confidence

of the public, the medical community, and the Plaintiff; to falsely assure them of the quality and
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fitness for use of the Products; and induce the Plaintiff, the public and the medical community to

request, recommend, prescribe, dispense, purchase, and continue to use the Products.

        136.    The Defendants made claims and representations in documents submitted to the

FDA and reports to the public and to healthcare professionals and in advertisements that the

Products had innovative beneficial properties and did not present serious health risks. These

representations, and others made by the Defendants, were false when made and/or were made with

the pretense of actual knowledge when such knowledge did not actually exist, and were made

recklessly and without regard to the true facts.

        137. These representations, and others made by the Defendants, were made with the

intention of deceiving and defrauding the Plaintiff, the Plaintiffs healthcare professionals and other

members of the healthcare community, and were made in order to induce the Plaintiff, and her

respective healthcare professionals, to rely on misrepresentations, and caused the Plaintiff to

purchase, rely, use, and request the Products and her healthcare professionals to dispense,

recommend, or prescribe the Products.

        138.    The Defendants recklessly and/or intentionally falsely represented the dangerous

and serious health and safety concerns inherent in the use of the Products to the public at large, for

the purpose of influencing the sales of products known to be dangerous and defective, and/or not

as safe as other alternatives.

        139.    The Defendants willfully and intentionally failed to disclose the truth, failed to

disclose material facts and made false representations, for the purpose of deceiving and lulling the

Plaintiff, as well as her healthcare professionals, into a false sense of security, so that the Plaintiff

and her healthcare providers would rely on the Defendants' representations, and the Plaintiff would

request and purchase the Products, and that their healthcare providers would dispense, prescribe,

and recommend the Products.
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       140.    The Defendants utilized direct to consumer advertising to market, promote, and

advertise the Products.

       141. At the time the representations were made, the Plaintiff and her healthcare providers

did not know the truth about the dangers and serious health and/or safety risks inherent in the use

of the Products. The Plaintiff did not discover the true facts about the dangers and serious health

and/or safety risks, nor did the Plaintiff discover the false representations of the Defendants, nor

would the Plaintiff with reasonable diligence have discovered the true facts or the Defendants'

misrepresentations.

       142. Had the Plaintiff known the true facts about the dangers and serious health and/or

safety risks of the Products, the Plaintiff would not have purchased, used, or relied on the Products.

       143. The Defendants' wrongful conduct constitutes fraud and deceit, and was committed

and perpetrated willfully, wantonly, and/or purposefully on the Plaintiff.

       144.    As a proximate result of the Defendants' conduct, the Plaintiff has been injured, and

sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

and economic damages.

       145.    The wrongs done by Defendants were aggravated by the kind of malice, fraud, and

grossly negligent disregard for the rights of others, the public, and Plaintiff for which the law

would allow, and which Plaintiff will seek at the appropriate time under governing law for the

imposition of exemplary damages, in that Defendants’ conduct, including the failure to comply

with applicable Federal standards: was specifically intended to cause substantial injury to Plaintiff;

or when viewed objectively from Defendants’ standpoint at the time of the conduct, involved an

extreme degree of risk, considering the probability and magnitude of the potential harm to others,

and Defendants were actually, subjectively aware of the risk involved, but nevertheless proceeded

with conscious indifference to the rights, safety, or welfare of others; or included a material
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representation that was false, with Defendants, knowing that it was false or with reckless disregard

as to its truth and as a positive assertion, with the intent that the representation is acted on by

Plaintiff.

        146.     Plaintiff relied on the representation and suffered injury as a proximate result of

this reliance.

        147.     Plaintiff therefore will seek to assert claims for exemplary damages at the

appropriate time under governing law in an amount within the jurisdictional limits of the Court.

        148.     Plaintiff also alleges that the acts and omissions of named Defendants, whether

taken singularly or in combination with others, constitute gross negligence that proximately caused

the injuries to Plaintiff. In that regard, Plaintiff will seek exemplary damages in an amount that

would punish Defendants for their conduct and which would deter other manufacturers from

engaging in such misconduct in the future.

        WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and request compensatory damages, together

with interest, costs of suit, attorneys’ fees, and such further relief as the Court deems equitable and

just.

                                          COUNT IX
                                      GROSS NEGLIGENCE

        149.     Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

        150.     The wrongs done by Defendants were aggravated by the kind of malice, fraud, and

grossly negligent disregard for the rights of others, the public, and Plaintiff for which the law

would allow, and which Plaintiff will seek at the appropriate time under governing law for the

imposition of exemplary damages, in that Defendants’ conduct, including the failure to comply
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with applicable Federal standards: was specifically intended to cause substantial injury to Plaintiff;

or when viewed objectively from Defendants’ standpoint at the time of the conduct, involved an

extreme degree of risk, considering the probability and magnitude of the potential harm to others,

and Defendants were actually, subjectively aware of the risk involved, but nevertheless proceeded

with conscious indifference to the rights, safety, or welfare of others; or included a material

representation that was false, with Defendants, knowing that it was false or with reckless disregard

as to its truth and as a positive assertion, with the intent that the representation is acted on by

Plaintiff.

        151.     Plaintiff relied on the representation and suffered injury as a proximate result of

this reliance.

        152.     Plaintiff therefore will seek to assert claims for exemplary damages at the

appropriate time under governing law in an amount within the jurisdictional limits of the Court.

        153.     Plaintiff also alleges that the acts and omissions of named Defendants, whether

taken singularly or in combination with others, constitute gross negligence that proximately caused

the injuries to Plaintiff. In that regard, Plaintiff will seek exemplary damages in an amount that

would punish Defendants for their conduct and which would deter other manufacturers from

engaging in such misconduct in the future.

                 WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and request compensatory damages, together

with interest, costs of suit, attorneys’ fees, and such further relief as the Court deems equitable and

just.
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                                         COUNT X
                                     PUNITIVE DAMAGES


       154.    Plaintiff realleges and incorporates by reference every allegation of this Complaint

as if each were set forth fully and completely herein.

       155.    At all times relevant hereto, Defendants knew or should have known that the

Defendants’ Pelvic Mesh Product was inherently more dangerous with respect to the risks of

erosion, failure, pain and suffering, loss of life’s enjoyment, remedial surgeries and treatments in

an effort to cure the conditions proximately related to the use of the product, as well as other severe

and personal injuries which are permanent and lasting in nature.

       156.    At all times material hereto, Defendants attempted to misrepresent and did

misrepresent facts concerning the safety of the Defendants’ Pelvic Mesh Product.

       157.    Defendants’     misrepresentation    included    knowingly     withholding     material

information from the medical community and the public, including Plaintiff, concerning the safety

and efficacy of the Defendants’ Pelvic Mesh Product.

       158.    At all times material hereto, Defendants knew and recklessly disregarded the fact

that the Defendants’ Pelvic Mesh Product causes debilitating and potentially lethal side effects

with greater frequency than safer alternative methods products and/or procedures and/or treatment.

       159.    At all times material hereto, Defendants knew and recklessly disregarded the fact

that the Defendants’ Pelvic Mesh Product causes debilitating and potentially lethal side effects

with greater frequency than safer alternative products and/or methods of treatment and recklessly

failed to advise the FDA of same.

       160.    At all times material hereto, Defendants intentionally misstated and misrepresented

data and continue to misrepresent data so as to minimize the risk of injuries caused by the

Defendants’ Pelvic Mesh Product.
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        161.   Notwithstanding the foregoing, Defendants continue to aggressively market the

Defendants’ Pelvic Mesh Product to consumers, without disclosing the true risk of side effects

when there were safer alternatives.

        162.   Defendants knew of the Defendants’ Pelvic Mesh Product defective and

unreasonably dangerous nature, but continued to manufacture, produce, assemble, market,

distribute, and sell the Defendants’ Pelvic Mesh Product so as to maximize sales and profits at the

expense of the health and safety of the Public, including Plaintiff, in conscious and/or negligent

disregard of the foreseeable harm caused by the Defendants’ Pelvic Mesh Product.

        163.   Defendants continue to intentionally conceal and/or recklessly and/or grossly

negligently fail to disclose to the public, including Plaintiff, the serious side effects of the

Defendants’ Pelvic Mesh Product in order to ensure continued and increased sales.

        164.   Defendants’ intentionally reckless and/or grossly negligent failure to disclose

information deprived Plaintiff of necessary information to enable her to weigh the true risks of

using the Defendants’ Pelvic Mesh Product against her benefit.

        165.   As a direct and proximate result of the foregoing acts and omissions, Plaintiff has

required and will require health care and services, and has incurred medical, health care, incidental,

and related expenses. Plaintiff is informed and believes and further alleges that Plaintiff will in the

future be required to obtain further medical care and/or hospital care and medical services.

        166.   Defendants have engaged in conduct entitling Plaintiff to an award of punitive

damages pursuant Common Law principles.

        WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and request compensatory damages, together

with interest, costs of suit, attorneys’ fees, and such further relief as the Court deems equitable and

just.
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                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

 individually, jointly and severally and requests compensatory damages, together with interest, cost

 of suit, attorneys’ fees, and all such other relief as the Court deems just and proper as well as:

        A.      All general, statutory, and compensatory damages, in excess of the amount required
                for federal diversity jurisdiction, and in an amount to fully compensate Plaintiff for
                all injuries and damages, both past and present;
        B.      All special and economic damages, in excess of the amount required for federal
                diversity jurisdiction and in an amount to fully compensate Plaintiff for all of her
                injuries and damages, pain and suffering;
        C.      Attorneys’ fees, expenses, and costs of this action;
        D.      Double or triple damages as allowed by law;
        E.      Punitive and/or exemplary damages;
        F.      Pre-judgment and post-judgment interest in the maximum amount allowed by land;
                and
        G.      Such further relief as this Court deems necessary, just, and proper.
                                DEMAND FOR JURY TRIAL
       Plaintiff demands a trial by jury on all issues so triable.

Dated this 8th day of July, 2020.

                                               Respectfully Submitted,


                                       By:      /s/ Adam T. Funk
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                             /s/ Dana Lizik
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